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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Michelle Lowe, f/k/a Wallace,              )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )       No. 13 C 1614
                                           )
Richard J. Boudreau & Associates,          )
LLC, a Massachusetts limited liability     )
company,                                   )
                                           )
       Defendants.                         )       Jury Demanded

                                         COMPLAINT

       Plaintiff, Michelle Lowe, f/k/a Wallace, brings this action under the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that

Defendant’s debt collection letters violated the FDCPA, and to recover damages for

Defendant’s violation of the FDCPA, and alleges:

                               JURISDICTION AND VENUE

       1.      The jurisdiction of the Court is invoked as authorized by § 1692k(d) of the

FDCPA, and 28 U.S.C. § 1331.

       2.      Venue is proper in this District because: a) the acts and transactions

occurred here; b) Plaintiff resided here; and, c) Defendants transact business here.

                                          PARTIES

       3.      Plaintiff, Michelle Lowe, f/k/a Wallace (“Lowe”), is a citizen of the State of

Illinois, residing in the Northern District of Illinois, from whom Defendant attempted to

collect a consumer debt that was allegedly owed to Citizens Bank.



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       4.     Defendant, Richard J. Boudreau & Associates, LLC ("Boudreau”), is

Massachusetts limited liability company, that acts as a debt collector, as defined by §

1692a of the FDCPA, because it regularly uses the mails and/or the telephone to

collect, or attempt to collect, delinquent consumer debts, including delinquent consumer

debts in the Northern District of Illinois. In fact, Boudreau was acting as a debt collector

as to the delinquent consumer debt it attempted to collect from Plaintiff.

                                 FACTUAL ALLEGATIONS

       5.     Ms. Lowe fell behind in paying her debts, including a debt she allegedly

owed to Citizens Bank. At some point in time after that debt became delinquent,

Citizens Bank hired Defendant Boudreau to attempt to collect the debt.

       6.     On March 2, 2012, Defendant Boudreau sent Ms. Lowe an initial form

collection letter, which stated that the balance of the debt was $1431.08, and then

stated, in pertinent part::

                                             * * *

       As of the date of this letter, you owe $1431.08. Because of interest accruing, the
       amount due on the day you pay may be greater than the above balance. Hence, if
       you pay the amount shown above, an adjustment may be necessary after we
       receive your payment. If so, we will inform you before depositing the payment.
                                               * * *

A copy of this collection letter is attached as Exhibit A.

       7.     In fact, no interest was accruing as to this debt, as is demonstrated by the

subsequent collection letters Defendant Boudreau sent to Plaintiff, dated April 6, 2012,

August 8, 2012, and September 12, 2012, each of which listed the balance as

$1431.08. Moreover, each of these letters also claimed that. “[B]ecause of interest



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accruing”, the amount due on the day the debt was paid may be greater. Copies of

these letters are attached as Group Exhibit B.

      8.     All of Defendants’ collection actions at issue in this matter occurred within

one year of the date of this Complaint.

      9.     Defendants’ collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                       Violation of § 1692e Of The FDCPA --
              False Statements That Additional Amounts May Be Due

      10.    Section 1692e of the FDCPA prohibits a debt collector from using any

false, deceptive or misleading representation or means in connection with the collection

of any debt, see, 15 U.S.C. § 1692e.

      11.    Defendant’s statements, that interest was accruing on Plaintiff’s debt was

clearly false, as no interest was accruing. Thus, Defendant’s statements that,

“[B]ecause of interest accruing, the amount due on the day you pay may be greater

than the above balance” were materially false, deceptive or misleading because the

belief that the debt was continuing to increase would undoubtedly have been a factor in

a consumer’s decision-making process and could lead to a decision to pay a debt that

the consumer would prefer to contest. Thus, Defendant’s collection letters violate of §

1692e of the FDCPA. See, Lox v. CDA, Ltd., 689 F.3d 818, 823-827 (7th Cir. 2012).

      12.    Defendant’s violations of § 1692e of the FDCPA render it liable for

actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.


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                                  PRAYER FOR RELIEF

       Plaintiff, Michelle Lowe, f/k/a Wallace, prays that this Court:

       1.     Find that Defendant’s debt collection letters violated the FDCPA;

       2.     Enter judgment in favor of Plaintiff Lowe, and against Defendants, for

statutory damages, costs, and reasonable attorneys’ fees as provided by §1692k(a) of

the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Michelle. Lowe, f/k/a Wallace, demands trial by jury.

                                                     Michelle Lowe, f/k/a Wallace

                                                     By: /s/ David J. Philipps___
                                                     One of Plaintiff's Attorneys

Dated: March 1, 2013

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